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UNITED STATES OF AMERICA
Plaintiff,
VS. CR. NO. 04-20394-D

MAURICE CALLAWAY
Defendant.

 

OR.DER oN cI-u\NGE or PLEA
AND SETTING

 

This cause came on to be heard on July 20, 2005, the United States
Attorney for this district, Joseph C. Murphy, Jr., appearing for the
Government and the defendant, Maurice Callaway, appearing in person and
with counsel, Mary Catherine Jermann, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count l of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for WEDNESDAY, OCTOBER 19, 2005, at
1:30 P.M., before Judge Bernice B. Donald.

Defendant is remanded to the custody of the U. S. Marshal.

ENTERED this the¢£k day of July, 2005.

        

RNIC B. DONALD
I'I.'ED STATES DISTRICT COURT

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This notice confirms a copy of the document docketed as number 21 in
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Joseph C. Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

